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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
V.                                              )           Criminal No. 08-30170-12-DRH
                                                )
JARMARL K. JOHNSON,                             )
                                                )
               Defendant.                       )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Count 1 of the Second Superseding

Indictment. After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and

that the offense charged is supported by an independent factual basis containing each of the

essential elements of such offense. I therefore recommend that the plea of guilty be accepted,

that a presentence investigation and report be prepared, and that the Defendant be adjudicated

guilty and have sentence imposed accordingly.

       DATED: January 22 2010
                                                    s/ Clifford J. Proud
                                                    CLIFFORD J. PROUD
                                                    U. S. MAGISTRATE JUDGE

                                            NOTICE

       Failure to file a written objection to this Report and Recommendation within fourteen
(14) days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
